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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF NEW YORK


TAMIE HOLLINS, individually and on
behalf of all others similarly situated,
                                                                   5:22-cv-393 (LEK/ATB)
                                                         CASE NO.:__________________
                 Plaintiff,
        v.                                               CLASS ACTION COMPLAINT

PAPARAZZI, LLC,                                          JURY TRIAL DEMANDED

                 Defendant.


       Plaintiff Tamie Hollins (“Plaintiff”), individually and on behalf of all others similarly

situated, alleges the following against Defendant Paparazzi, LLC (“Paparazzi” or “Defendant”) on

information and belief, except that Plaintiff’s allegations as to her own actions are based on

personal knowledge as to matters related to and known to her. As to all other matters, Plaintiff

bases her allegations on information and belief and through investigation of her counsel. Plaintiff

believes substantial evidentiary support exists for the allegations below.

                                       INTRODUCTION




1
 Paparazzi Accessories Quietly Removes Lead and Nickel-Free Claim (Feb. 16, 2022), https://trut
hinadvertising.org/articles/paparazzi-accessories-lead-free-and-nickel-free-jewelry/ (last visited
Apr. 22, 2022).
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                                         THE PARTIES




2
  Id.
3
  Nickel Allergy, Cleveland Clinic (July 4, 2018), https://my.clevelandclinic.org/health/diseases/17
842-nickel-allergy (last visited Apr. 22, 2022).
4
  See About Us, Paparazzi (2022), https://web.archive.org/web/20220109184940/https://paparazzi
accessories.com/about/ (last visited Apr. 22, 2022); see also Awnya B., Paparazzi jewelry IS
Nickel and Lead Free (Dec. 27, 2022), https://jewelryblingthing.com/blogs/news/paparazzi-jewelr
y-is-nickel-and-lead-free (last visited Apr. 22, 2022).


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                      JURISDICTION AND VENUE




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                         COMMON FACTUAL ALLEGATIONS

    I.   Defendant Marketed And Sold Its Jewelry As “Lead-Free And Nickel-Free”




5
   About Us, Paparazzi (2021), https://web.archive.org/web/20211006014220/https://paparazzi
accessories.com/about/ (last visited Apr. 22, 2022).
6
  See About Us, Paparazzi (2022), supra note 4.


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    II.   Paparazzi Products Actually Contain Heavy Metals And Nickel




7
  See Murial Bezanson, Paparazzi Jewelry Tests Positive for Lead and Nickel (Jan. 4, 2022),
https://medium.com/@murialbezanson/paparazzi-jewelry-tests-positive-for-lead-and-nickel-877c
2254a47d (last accessed Apr. 22, 2022); Tamara Rubin, Paparazzi Accessories Child’s Ring (Feb.
20, 2022), https://tamararubin.com/2022/02/paparazzi-accessories-childs-ring-pink-white-flower
with-center-gem-252800-ppm-lead-98200-ppm-cadmium-4565-ppm-antimony-40500-ppm-nick
el-too/ (last accessed Apr. 22, 2022).
8
  Paparazzi Accessories Quietly Removes Lead and Nickel-Free Claim, supra note 1.


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9
   Muwaffak Al Osman, et al., Exposure routes and health effects of heavy metals on children,
Biometals 32, 563–73 (2019), https://pubmed.ncbi.nlm.nih.gov/30941546/#:~:text=The%20impl
ications%20of%20heavy%20metals,problems%2C%20cancer%20and%20cardiovascular%20dis
eases (last accessed Apr. 22, 2022).
10
   See Lead, CDC (Dec. 12, 2021), https://www.cdc.gov/niosh/topics/lead/exposure.html (last
accessed Apr. 22, 2022).
11
   G. Schwalfenberg, et al., “Heavy metal contamination of prenatal vitamins,” Toxicology Reports
5 at 392 (2018).
12
   Nickel allergy, Mayo Clinic, https://www.mayoclinic.org/diseases-conditions/nickel-allergy/sy
mptoms-causes/syc-20351529, (last accessed Apr. 22, 2022).


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                              CLASS ACTION ALLEGATIONS




13
   Stefanos F. Haddad, Exploring the Incidence, Implications, and Relevance of Metal Allergy to
Orthopaedic Surgeons, 3(4) J. Am. Acad. of Orthopaedic Surgeons Glob. Rsch. & Revs. (Apr. 5,
2019), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6510463/ (last accessed Apr. 22, 2022);
What do you need to know about nickel allergy?, Nickel Institute (2022), https://nickelinstitute.or
g/en/science/what-do-you-need-to-know-about-nickel-allergy/ (last accessed Apr. 22, 2022).
14
   Paparazzi jewelry IS Nickel and Lead Free, supra note 4.


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                              NEGLIGENCE
                    (On behalf of the New York Subclass)




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                      STRICT PRODUCT LIABILITY
                    (On behalf of the New York Subclass)




                                    12
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                         UNJUST ENRICHMENT
                    (On behalf of the New York Subclass)




                                    13
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                    (On behalf of the New York Subclass)




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       WHEREFORE, Plaintiff, individually and on behalf of the Members of the Nationwide

Class and the New York Subclass, respectfully requests the Court to enter an Order:




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                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all

issues in this action so triable of right.



Dated: April 27, 2022                         Respectfully submitted,


                                              /s/ Gary E. Mason
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